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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA

ELIZABETH D. HENSLEY                        )
                                            )
           Plaintiff,                       )
                                            )
Vs.                                         ) CASE NUMBER: _______________________
                                            )
IU HEALTH NORTH                             )
HOSPITAL                                    )
                                            )
           Defendant.                       )


                            COMPLAINT FOR EMPLOYMENT
                          DISCRIMINATION AND RETALIATION


      I.       PARTIES TO THIS COMPLAINT

           A. THE PLAINTIFF:

                        Elizabeth D. Hensley
                        5873 Aldridge Drive
                        Whitestown, IN 46075
                        Phone: 765-894-2821
                        Ewasham1980@att.net


           B. THE DEFENDANT:

                        IU Health North Hospital
                        11700 N Meridian St.
                        Carmel, IN 46032
                        ATTN: Sarah Bowers
                        Associate General Counsel
                        IU HEALTH
                        340 W 10th St
                        Indianapolis, IN 46202




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  II.        BASIS FOR JURISDICTION

         A. This action is brought for discrimination in employment pursuant to the following:

                 a. Indiana Code §§ 22-9-1 et seq.

                 b. Title VII of the Civil Rights Act of 1964, as codified, 42 U.S.C. §§ 2000e to

                      2000e-17.

                 c. Americans with Disabilities Act of 1990, as codified, 42 U.S.C. §§ 12112 to

                      12117.

         B. Plaintiff filed a charge of discrimination with the Equal Employment Opportunity

             Commission or the Indiana Civil Rights Commission on December 20, 2021. (See

             Exhibit “A”).

         C. The Date of Plaintiff’s Notice of Right to Sue letter is January 11, 2022. (See Exhibit

             “B”).

         D. The date Plaintiff received her Notice of Right to Sue letter was February 1, 2022.

             (See Exhibit “C”).

  III.       STATEMENT OF FACTS

  1. Elizabeth D. Hensley (the “Plaintiff”) began working at IU Health North Hospital (the

         “Defendant”) on February 19th, 2019.

  2. During early 2019, the Plaintiff worked on the Defendant’s “Med/Surg” unit, where her

         responsibilities included caring for and moving high-weight patients.

  3. In October of 2019, the Plaintiff sustained a work-related injury to her shoulder (the

         “First Injury”).

  4. Plaintiff’s physician provided an accommodation request in early October of 2019 to

         Defendant.




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  5. The Accommodations on the Plaintiff’s physician’s accommodation request were not

     made by the Defendant and the Plaintiff continued to be scheduled to work on the

     “Med/Surg” unit, caring for high-weight patients through early November 2019.

  6. In Early November, 2019, The Plaintiff was transferred by the Defendant to the

     Defendant’s Post-Partum Unit, where she worked at a desk pursuant to her physician’s

     accommodation request.

  7. After Plaintiff was removed from accommodations, she worked on the Post-Partum Unit

     as a Patient Care Technician (“PCT”).

  8. On or around September 18, 2020, the Plaintiff sustained another injury while at work for

     the Defendant (the “Second Injury”).

  9. The Second Injury required a major surgery, which was scheduled for December 11,

     2020.

  10. The Plaintiff submitted a Medical Accommodation Form (“MAF”) with a beginning date

     of September 28, 2020.

  11. The Plaintiff’s requested accommodations ended November 22, 2020, despite her surgery

     date.

  12. Between late November, 2020, and Early December, 2020, the Plaintiff had no workplace

     accommodations in place.

  13. Between late November 2020 and early December 2020, the Plaintiff was not scheduled

     to work by the Defendant and had not been given any notice that her accommodations

     had been rejected.

  14. The Plaintiff had her surgery and, following recovery, was available to work again as of

     February 23, 2021, subject to physician-requested accommodations.




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  15. The physician-requested accommodations as of February 23, 2021, requested that the

        Plaintiff be assigned to desk work and reduced physical activity.

  16. The Plaintiff was not scheduled for any desk shifts subsequent to her request for

        accommodations and was not notified whether or not her accommodation requests had

        been approved or denied.

  17. The Plaintiff was taken off of the schedule by the Defendant following her request for

        accommodations, and the Defendant’s informed Plaintiff that she would be unable to

        fully return to work until she was “fully released”.

  18. The Plaintiff filed for Workman’s Compensation due to her being unable to return to

        work.

  19. The Plaintiff worked a COVID-related shift for the Defendant in early March of 2021.

  20. Following the shift, the Defendant kept the Plaintiff off of the schedule.

  21. Plaintiff’s son relied heavily on the insurance received by Plaintiff from Defendant due to

        an underlying medical condition.

  22. On July 2, 2021, Following the Plaintiff informing the Defendant of her son’s medical

        condition, the Plaintiff received Notice from the Plaintiff that she had been discharged.

  23. The discriminatory conduct of which the Plaintiff filed this complaint upon includes

        Failure to Accommodate, Retaliation and Discrimination.

  IV.      FAILURE TO ACCOMMODATE PLAINTIFF’S DISABILITY.

  24. Defendant discriminated against Plaintiff by failing to accommodate her reasonable

        medical accommodation requests.

  25. Plaintiff contends that Defendant discriminated against her based on her disability

        derived from her work-related injury.




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  26. Defendant had notice of the injury sustained by the Plaintiff while working for the

       Defendant.

  27. The injury caused the Plaintiff to require accommodations pursuant to recommendations

       given by Plaintiff’s physician.

  28. Plaintiff informed Defendant of the accommodation requests given to her and

       recommended for her by her physician.

  29. Plaintiff attempted to return to work, subject to her reasonable accommodation requests.

  30. Defendant denied Plaintiff’s reasonable accommodation requests and failed to allow her

       to return to work.

  31. Plaintiff was discharged through a letter received by the Plaintiff from the Defendant in

       early July of 2021.

  32. Defendant’s failure to accommodate the Plaintiff’s reasonable accommodation requests

       has led to monetary losses accumulated by the Plaintiff as a result of being out of work.

  33. Defendant’s failure to accommodate has caused the Plaintiff to suffer mental and

       emotional distress.

  34. Defendant’s failure to accommodate has led to a loss in insurance coverage, which has

       caused further monetary loss to the Plaintiff.

  V.      RETALIATION RELATED TO WORKMAN’S COMPENSATION CLAIM

  35. Plaintiff contends that Defendant constructively terminated her employment due to the

       Plaintiff filing a Workman’s Compensation Claim.

  36. The Defendant informed the Plaintiff that she could not allow the Plaintiff to return to

       work until fully released by her doctor.

  37. Subsequently, the Plaintiff filed for Workman’s Compensation.




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  38. Following the Defendant having Notice of the Plaintiff’s Workman’s Compensation

        Claim, the Defendant did not schedule the Plaintiff for any additional shifts.

  39. Defendant finally discharged the Plainitiff, after failing to schedule the Plaintiff to work

        for months, through a writing received in early July of 2021.

  40. Defendant failed to schedule Plaintiff in retaliation of the Plaintiff filing a Workman’s

        Compensation Claim.

  41. Defendant failed to schedule the Plaintiff in an effort to constructively terminate

        Plaintiff’s employment.

  42. Defendant eventually discharged the Plaintiff as a response to Plaintiff having filed a

        Workman’s Compensation Claim by a letter received by the Plaintiff after many months

        of not being scheduled to work by the Defendant.

  43. Defendant violated public policy by discharging, either actually or constructively, the

        Plaintiff following her filing a Workman’s Compensation Claim.

  44. Defendant’s wrongful discharge of the Plaintiff has caused the Plaintiff to suffer

        monetary losses of compensation, to suffer mental and emotional distress, and has caused

        Plaintiff to incur medical bills due to her loss of insurance coverage provided by

        Defendant.

  VI.      RETALIATION AND FAILURE TO ACCOMMODATE BASED ON
           PLAINTIFF’S SON’S MEDICAL CONDITION.

  45. Plaintiff’s child (the “Child”) suffers from Type I Diabetes.

  46. Concerned about losing her insurance coverage after wrongfully being taken off of the

        schedule, Plaintiff contacted Defendant regarding the Child’s condition and the need to

        remain covered by Defendant’s insurance.

  47. Defendant had notice of the Child’s medical condition.



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  48. In response to being notified of the Child’s medical condition, the Defendant issued the

      letter, which was received by Plaintiff in early July of 2021, which discharged the

      Plaintiff from Defendant’s employment.

  49. Defendant discharged the Plaintiff in retaliation to the Child’s medical condition.

  50. Defendant discriminated against Plaintiff and the Child due to the Child’s medical

      condition.

  51. Defendant’s wrongful discharge of the Plaintiff due to and in retaliation of the Child’s

      medical condition has caused the Plaintiff to suffer monetary losses of compensation, to

      suffer mental and emotional distress, and has caused Plaintiff to incur medical bills due to

      her loss of insurance coverage provided by Defendant.

  VII.    EXHAUSTION OF ADMINISTRATIVE REMEDIES

  52. The Plaintiff filed a Charge of Discrimination against the Defendant with the Indiana

      Civil Rights Commission (the “ICRC”) in late December of 2021 under Charge Number

      470-2021-03292.

  53. The Plaintiff received a Notice of Right to Sue from the U.S. Equal Employment

      Opportunity Commission (the “EEOC”) on February 1st. 2022 through the EEOC’s

      website” (See Attached Exhibit)

  54. Plaintiff retains the right to amend this Complaint when and as necessary upon discovery

      of additional facts related to the claims herein, or otherwise.

  55. Plaintiff requests a trial by jury.




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   WHEREFORE, the Plaintiff requests this Court issue an order finding the Defendant liable

for any and all applicable damages and finding that the Defendant has: I. Discriminated against

the Plaintiff by failing to reasonably accommodate her disability; II. Wrongfully terminated the

Plaintiff against public policy in retaliation of the Plaintiff filing for Workman’s Compensation;

and III. Wrongfully terminated the Plaintiff and discriminated against the Plaintiff and her son

based on the Child’s medical condition. The Plaintiff further requests this Court issue any and all

other orders which may be just, necessary and proper in the premises.



                                                     Respectfully Submitted,

                                                     __/s/ Theodore R. Feddeler_____
                                                     Wright & Associates, PC
                                                     Theodore R. Feddeler, Attorney
                                                     For the Plaintiff, #36369-49


    I certify, by signing below, that to the best of my knowledge, information and belief that this
complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law
or by a nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have evidentiary
support after a reasonable opportunity for further investigation or discovery; and (4) the
complaint otherwise complies with the requirements of Rule 11.


Dated: __04/28/2022__                                __/s/ Theodore R. Feddeler_____
                                                     Theodore R. Feddeler, Attorney
                                                     For the Plaintiff, #36369-49
                                                     WRIGHT & ASSOCIATES, PC
                                                     8275 Allison Pointe Trail, Suite 375
                                                     Indianapolis, IN 46250
                                                     (317) 575-1900 | Ted@WrightAttys.com




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                                 CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing has been sent via certified mail to the following
individuals:


                       Elizabeth D. Hensley
                       5873 Aldridge Drive
                       Whitestown, IN 46075
                       Phone: 765-894-2821
                       Ewasham1980@att.net


                       IU Health North Hospital
                       11700 N Meridian St.
                       Carmel, IN 46032

                       Sarah Bowers
                       Associate General Counsel
                       IU HEALTH
                       340 W 10th St
                       Indianapolis, IN 46202

                                                      ___/s/Theodore R. Feddeler _______
                                                      Theodore R. Feddeler, 36369-49




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